  8:05-cr-00029-JFB-TDT          Doc # 28   Filed: 04/22/05   Page 1 of 1 - Page ID # 41




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  8:05CR29
                                             )
             v.                              )
                                             )          REASSIGNMENT ORDER
RANDAL D. GAMBELL,                           )
                                             )
                    Defendant.               )
                                             )


      IT IS ORDERED that, in the interest of judicial economy, this case is reassigned

to District Judge Joseph F. Bataillon for disposition and remains assigned to Magistrate

Judge Thomas D. Thalken for judicial supervision and processing of all pretrial matters.

      DATED this 22nd day of April, 2005.

                                            BY THE COURT:



                                            s/Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
